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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION


 UNITED STATES OF AMERICA,                )
                                          )
 Plaintiff/Respondent,                    )
                                          )
 vs.                                      )    NO. 2:08-cr-111
                                          )
 JORGE QUINTERO,                          )
                                          )
 Defendant/Petitioner.                    )


                           OPINION AND ORDER
       This matter is before the Court on the Amended Place Holder

 Petition, filed by Petitioner, Jorge Quintero, on July 24, 2012,

 treated by this Court as a section 2255 motion (DE #129).              For the

 reasons set forth below, the section 2255 motion is DENIED.                 The

 Clerk is ORDERED to DISMISS this case WITH PREJUDICE. The Clerk is

 FURTHER ORDERED to distribute a copy of this order to Petitioner

 (Inmate Reg. No. 09826-027), Federal Correctional Institution, P.O.

 Box 800, Herlong, California 96113, or to such other more current

 address that may be on file for the Petitioner.



 BACKGROUND

       On July 2, 2008, Quintero was charged with his co-defendant,

 Martinez, in an indictment.           Quintero was charged with: bank

 robbery by force, violence, or intimidation in violation of 18
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 U.S.C. §§ 2113(a) and 2 (Count 1); discharge of a firearm in

 relation to a crime of violence in violation of 18 U.S.C. §

 924(c)(1), 2113(a), and 2 (Count 2); knowing possession of a

 firearm and ammunition as an illegal alien in violation of 18

 U.S.C. §§ 922(g)(5)(A), 924(a)(2) and 2 (Count 3); and unlawful

 entering and remaining in the United States in violation of 8

 U.S.C.§ 1325(a) (Count 4).

         As more fully set forth in the facts of United States v.

 Quintero, 618 F.3d 746 (7th Cir. 2010), Quintero entered into an

 amended plea agreement on December 9, 2008, agreeing to plead

 guilty to all four counts of the indictment against him. (DE #37.)

 The change of plea hearing was held before Magistrate Judge Paul R.

 Cherry on December 9, 2008, and this Court subsequently adopted

 Judge Cherry’s report and recommendations.           (DE #50.)

         Quintero’s signed plea agreement contained a waiver stating

 that:

             I understand that the law gives a convicted person
             the right to appeal the conviction and the sentence
             imposed; I also understand that no one can predict
             the precise sentence that will be imposed, and that
             the Court has jurisdiction and authority to impose
             any sentence within the statutory maximum set for
             my offense(s) as set forth in this plea agreement;
             with this understanding and in consideration of the
             government’s entry into this plea agreement, I
             expressly waive my right to appeal or to contest my
             conviction and my sentence and any restitution
             order was determined or imposed, to any Court on
             any ground, including any claim of ineffective
             assistance   of   counsel    unless   the   claimed
             ineffective assistance of counsel relates directly
             to this waiver or its negotiation, including any

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             appeal under Title 18, United States Code, Section
             3742 or any post-conviction proceeding, including
             but not limited to, a proceeding under Title 28,
             United States Code, Section 2255.


 (Second Amended Plea Agreement, DE #37, ¶ 7(d).) Additionally, the

 plea   agreement    informed   Quintero    that      maximum   penalties      of

 incarceration were: 20 years for Count 1, life in prison for Count

 2, 10 years in prison for Count 3, and up to 6 months in prison for

 Count 4.    (Id. ¶ 7(b).)

        On June 23, 2009, this Court held a sentencing hearing for

 Quintero.    The probation office had revised the PSR on April 26,

 2009, following co-defendant’s Martinez’s trial.                 The amended

 report added two points to Quintero’s base offense level for

 obstruction of justice because Quintero had perjured himself at

 Martinez’s trial, and removed the previously present three-point

 reduction for acceptance of responsibility.           Thus, the revised PSR

 calculated Quintero’s total offense level at 27, which resulted in

 a recommended guidelines range of 70 to 87 months’ imprisonment,

 and Count 2 remained the same. This Court sentenced Quintero to 70

 months imprisonment on each of Counts 1 and 3, and a term of 6

 months on Count 4, all to run concurrently.                 The Court also

 sentenced Quintero to 120 months imprisonment on Count 2, to run

 consecutively with the sentence imposed on the other counts.

 Judgment was entered on June 23, 2009.

        Quintero filed a direct appeal with the Seventh Circuit on


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 July 2, 2009.     The Seventh Circuit issued a mandate on September

 16, 2010, finding that Quintero’s right to appellate review was

 properly waived, and dismissing his appeal.            Quintero, 618 F.3d

 746.

        On July 24, 2012 (DE #129), Quintero filed a petition entitled

 “Place Holder Petition.”      In it, he refers to the AEDPA, and seems

 to be making substantive arguments which lead the Court to believe

 he is collaterally attacking his sentence.           Because Quintero had

 not yet filed a motion under section 2255, but the instant motion

 presented issues substantively within section 2255, the Court gave

 Quintero notice that the instant motion could preclude any later

 collateral proceedings.      See United States v. Evans, 224 F.3d 670,

 673-75 (7th Cir. 2000).     In an order dated July 24, 2012, the Court

 gave Quintero notice that the arguments presented in his motion

 would be treated as a motion made pursuant to 28 U.S.C. section

 2255, and gave him an opportunity to withdraw the motion, if he so

 chose, or add any other arguments for collateral relief.                    (DE

 #130.)

        Quintero never advised the Court that he wished to withdraw

 the claims set forth in his section 2255 petition, nor did he

 submit additional legal argument.         Therefore, the Court gave the

 parties notice that the amended “Place Holder Petition” would be

 treated as a section 2255 motion (DE #130), and set forth a

 briefing schedule.     The Government filed a response in opposition


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 on October 23, 2012 (DE #132).         Quintero did not file a reply.              As

 such, this motion is fully briefed and ripe for adjudication.



 DISCUSSION

       Habeas corpus relief under 28 U.S.C. section 2255 is reserved

 for "extraordinary situations."            Prewitt v. United States, 83 F.3d

 812, 816 (7th Cir. 1996).        In order to proceed on a habeas corpus

 petition pursuant to 28 U.S.C. section 2255, a federal prisoner

 must show that the district court sentenced him in violation of the

 Constitution or laws of the United States, or that the sentence was

 in excess of the maximum authorized by law, or is otherwise subject

 to collateral attack.      Id.

       A   section   2255   motion     is    neither   a   substitute       for    nor

 recapitulation of a direct appeal.           Id.; Belford v. United States,

 975 F.2d 310, 313 (7th Cir. 1992), overruled on other grounds by

 Castellanos v. United States, 26 F.3d 717 (7th Cir. 1994).                       As a

 result:

              [T]here are three types of issues that a
              section 2255 motion cannot raise: (1) issues
              that were raised on direct appeal, absent a
              showing    of   changed    circumstances;  (2)
              nonconstitutional issues that could have been
              but were not raised on direct appeal; and (3)
              constitutional issues that were not raised on
              direct appeal, unless the section 2255
              petitioner    demonstrates    cause   for  the
              procedural default as well as actual prejudice
              from the failure to appeal.

 Belford, 975 F.2d at 313.        Additionally, aside from demonstrating


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 "cause" and "prejudice" from the failure to raise constitutional

 errors    on   direct    appeal,      a       section    2255   petitioner       may

 alternatively pursue such errors after demonstrating that the

 district court's refusal to consider the claims would lead to a

 fundamental miscarriage of justice.              McCleese v. United States, 75

 F.3d 1174, 1177 (7th Cir. 1996).

       In assessing Petitioner's motion, the Court is mindful of the

 well-settled     principle    that,           when   interpreting      a   pro    se

 petitioner's complaint or section 2255 motion, district courts have

 a "special responsibility" to construe such pleadings liberally.

 Donald v. Cook County Sheriff's Dep't, 95 F.3d 548, 555 (7th Cir.

 1996); Estelle v. Gamble, 429 U.S. 97, 106 (1976) (a "pro se

 complaint, 'however inartfully pleaded' must be held to 'less

 stringent standards than formal pleadings drafted by lawyers'")

 (quoting Haines v. Kerner, 404 U.S. 519 (1972)); Brown v. Roe, 279

 F.3d 742, 746 (9th Cir. 2002) ("pro se habeas petitioners are to be

 afforded 'the benefit of any doubt'") (quoting Bretz v. Kelman, 773

 F.2d 1026, 1027 n.1 (9th Cir. 1985)).                In other words:

             The mandated liberal construction afforded to
             pro se pleadings "means that if the court can
             reasonably read the pleadings to state a valid
             claim on which the [petitioner] could prevail,
             it should do so despite the [petitioner's]
             failure to cite proper legal authority, his
             confusion of various legal theories, his poor
             syntax and sentence construction, or his
             unfamiliarity with pleading requirements."

 Barnett v. Hargett, 174 F.3d 1128, 1133 (10th Cir. 1999) (habeas


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 petition from state court conviction) (alterations in original)

 (quoting Hall       v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991)).

 On the other hand, "a district court should not 'assume the role of

 advocate for the pro se litigant' and may 'not rewrite a petition

 to include claims that were never presented.'"                   Id.    Here, the

 Court assessed Quintero’s claims with these guidelines in mind.



 Statute of Limitations

       Although Quintero’s claims are difficult to decipher, he seems

 to   argue   that    his   conviction   goes     against   the    9th   and    10th

 amendments because the Government did not have the legal authority

 to prosecute him, that the plea agreement is unconstitutional and

 it would “be unconscionable and absurd to allow the government to

 retain any benefit from a bargain that they had no authority to

 enter” (DE #129, p. 4), and he alleges there was ineffective

 assistance of counsel (although he provides no specifics).                    These

 arguments    fail    for   several    reasons,    including      timeliness     and

 waiver.

       Section 2255 contains a 1-year statute of limitations which

 runs from the latest of:         (1) the date on which the judgment of

 conviction becomes final; (2) the date on which an unlawful or

 unconstitutional government-created impediment to filing has been

 removed; (3) the date on which "the right asserted was initially

 recognized by the Supreme Court, if that right has been newly


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 recognized by the Supreme Court and made retroactively applicable

 to cases on collateral review"; or (4) the date on which the facts

 supporting the claim presented could have been discovered through

 the exercise of due diligence.        28 U.S.C. § 2255.         "[A] collateral

 attack under § 2255 must be filed within one year after the date on

 which the judgment of conviction becomes final . . . ."                    United

 States v. Woods, 169 F. 3d 1077, 1078 (7th Cir. 1999).

       In this case, Quintero's conviction became final on September

 16, 2010, the date of the Seventh Circuit mandate.                       Because

 Quintero did not seek certiorari, “the conclusion of proceedings in

 the court of appeals marks finality under § 2255 ¶ 6(1).”                 Garrott

 v. United States, 238 F.3d 903, 904 (7th Cir. 2001) (citing Gendron

 v. United States, 154 F.3d 672 (7th Cir. 1998)).                       Quintero’s

 amended “Place Holder Petition,” which this Court construed as a

 section 2255 petition, was not filed until July 24, 2012, well

 outside of the 1-year statute of limitations.1                   No Government

 action prevented Quintero from filing a timely petition, and there

 is   no   Supreme   Court   decision       that   creates   a    retroactively

 applicable right for Quintero.             Accordingly, his petition fails

 because it is barred by the one-year statute of limitations.



 Waiver

       1
       The Court notes that Quintero’s original Place Holder
 Petition was filed on June 22, 2012 (DE #126), also well outside
 the statute of limitations.

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       Even assuming, arguendo, that Quintero’s motion was not barred

 by the applicable statute of limitations, his claims still fail

 because   of   the   plea   agreement     waiver.    In   Quintero's      plea

 agreement, he expressly waived his right to appeal his sentence on

 any ground, as well as waived his right to contest his sentence in

 a section 2255 proceeding.      (Plea Agreement, DE #37, ¶ 7(d).)

       The Seventh Circuit has recognized the validity of plea

 agreement waivers, and will enforce the waiver unless there is a

 claim that the waiver was entered into involuntarily, or that the

 waiver was a result of the ineffective assistance of counsel during

 the negotiation of the waiver. In Jones v. United States, 167 F.3d

 1142, 1145 (7th Cir. 1999), the Seventh Circuit held that only two

 claims could be raised on a section 2255 motion by an individual

 who waived his right to appeal:             (1) the defendant received

 ineffective assistance of counsel in negotiating the waiver; or (2)

 that the waiver was not knowingly and voluntarily made.                  Jones

 stated that courts should be:

             [m]indful of the limited reach of this
             holding, we reiterate that waivers are
             enforceable as a general rule; the right to
             mount a collateral attack pursuant to § 2255
             survives only with respect to those discrete
             claims   which   relate    directly to   the
             negotiation of the waiver.

 Id. at 1145.

       In Mason v. United States, 211 F.3d 1065, 1069 (7th Cir.


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  2000), the Seventh Circuit applied its holding in Jones to bar an

  ineffective assistance of counsel claim that related only to the

  petitioner's performance with respect to sentencing.                 The Court

  found that "[b]ecause the challenge has nothing to do with the

  issue of a deficient negotiation of the waiver, [petitioner] has

  waived   his     right   to   seek    post-conviction     relief."          Id.

  Additionally, the Court stated that the following analysis should

  be considered in determining whether a claim has been waived:

              can the petitioner establish that the waiver
              was not knowingly or voluntarily made, and/or
              can he demonstrate ineffective assistance of
              counsel with respect to the negotiation of the
              waiver?

  Id.

        Although    Quintero    uses    the   vague   phrase     “ineffective

  assistance of counsel” in his petition (DE #129, p. 4), he does not

  allege that he did not understand his plea agreement, or that the

  waiver was not knowingly or voluntarily made.           Quintero also does

  not argue that his counsel was ineffective with regard to the

  negotiation of the waiver.           Indeed, the record indicates the

  opposite.      Quintero, who does not read or write English, was

  provided with an interpreter.        (DE #37, ¶ 1; DE #109, p. 3.)          The

  plea agreement provided that, “I have received a copy of the

  Indictment and have read and discussed it with my lawyer, and

  believe and feel I understand every accusation made against me in

  this case” and “[m]y lawyer has counseled me and advised me as to


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  the nature and elements of every accusation against me and to any

  possible defenses I might have.” (DE #37, ¶¶ 2, 3.)            Quintero made

  similar statements during his change of plea hearing, indicating he

  understood the charges against him and was satisfied with his

  counsel. (DE #109, pp. 7-8, 12-20, 23-27.) The Court went through

  the provisions of the plea agreement and was satisfied that

  Quintero understood the terms of the agreement and was making a

  voluntary and intelligent decision to plead guilty and waive any

  right to contest his sentence. (Id., pp. 9-12, 21-22, 27-28.)

        Because Quintero's challenges (the constitutionality of his

  conviction under the 9th and 10th amendments, and the ability of

  the Government to prosecute him) are unrelated to the voluntariness

  of the waiver or ineffective assistance of counsel, Quintero waived

  his right to seek post-conviction relief.           See Mason, 211 F.3d at

  1069; Jones, 167 F.3d at 1145; see also United States v. Kennedy,

  2004 WL 2403806, No. 04 C 5027, at *1 (N.D. Ill. Oct. 18, 2004)

  (express waiver prohibits the challenge unless the 2255 petition

  “adequately alleged that the waiver was either involuntary and

  unknowing, or the result of ineffective assistance of counsel.”).

  In other words, because the issues raised in Quintero’s section

  2255 petition “fall squarely within the waiver language of his plea

  agreement,” the section 2255 petition fails.              United States v.

  Woods, 2004 WL 2278554, No. 04 C 50094, at *1 (N.D. Ill. Oct. 7,

  2004).     This   Court   is   satisfied   that     Quintero    voluntarily,


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  knowingly    and   intelligently     waived   his   right    to    seek   post-

  conviction relief. See, e.g., United States v. Davis, 348 F. Supp.

  2d 964, 966 (N.D. Ind. 2004) (finding a similar section 2255 waiver

  sufficient, ruling defendant knowingly and intelligently waived his

  right to file a section 2255 motion.); see also Quintero, 618 F.3d

  at 751 (finding Quintero knowingly and voluntarily waived his right

  to appeal).



  CONCLUSION

        For the reasons set forth above, Quintero’s Amended Place

  Holder Petition, treated by this Court as a section 2255 motion, is

  DENIED.   The Clerk is ORDERED to DISMISS this case WITH PREJUDICE.

  The Clerk is FURTHER ORDERED to distribute a copy of this order to

  Petitioner    (Inmate   Reg.   No.   09826-027),    Federal       Correctional

  Institution, P.O. Box 800, Herlong, California 96113, or to such

  other more current address that may be on file for the Petitioner.




  DATED: January 2, 2013                     /s/ RUDY LOZANO, Judge
                                             United States District Court




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